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                                                                                                                      E-FILED
                                                                           Thursday, 12 February, 2015 07:54:14 PM
                                                                                      Clerk, U.S. District Court, ILCD

                             IN THE UNITED STATES DISTRICT COURT FOR
                                 THE CENTRAL DISTRICT OF ILLINOIS
TIMOTHY BENNETT,

Plaintiff,

v.                                                           Case No. 15-cv-1072

ARIZONA SPORT SHIRTS, INC.,

Defendant.

                                COMPLAINT FOR DECLARATORY RELIEF


             Plaintiff, TIMOTHY BENNETT (“Bennett”), brings this Complaint for declaratory judgment

against ARIZONA SPORT SHIRTS, INC. (“Arizona”), stating as follows:

                                                 Nature of Action

             1.      Bennett seeks declaratory judgment of non-infringement and non-dilution of

alleged trademark rights. Bennett also seeks that the rights asserted by the Defendant are invalid

and unenforceable.

             2.      Arizona asserts that Bennett is infringing upon its trademark rights and diluting its

trademarks. Bennett asserts that he has not infringed upon or diluted any trademark rights held by

Arizona, and further, Bennett asserts that such purported rights are invalid and unenforceable.

                                                       Parties

             3.      Bennett is an individual residing at 7720 W Redwing Dr. Peoria, Illinois 61604.

             4.      Arizona is a company that is, upon information and belief, located at 100 Gasoline

Alley, Indianapolis, Indiana.1




1 Despite appending “Inc.” to its name, Arizona does not appear to be registered to do business as a corporation in
Indiana.
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                                         Jurisdiction & Venue

        5.       This is an action for declaratory judgment arising out of the Trademark Laws of the

United States, 15 U.S.C. § 1051 et seq., the Lanham Act, 15 U.S.C. § 1125, et seq., and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        6.       Bennett resides within this District.

        7.       Arizona, upon information and belief, does business within this District. Further, its

false assertions of trademark rights and Bennett’s purported infringement and dilution of the same

were directed to Mr. Bennett in this District.

        8.       Thus, this Court has original and personal jurisdiction over this matter.

        9.       Venue for this action is proper in the Central District of Illinois pursuant to 28

U.S.C. § 1391(b)(2) and/or (c)(2).

                                          Factual Background

        10.      Bennett is a dirt track racing enthusiast who discovered that a there was an

unfulfilled market demand for dirt track racing games.

        11.      Bennett is the sole proprietor of a start up company that produced a mobile device

application, or “app,” called Dirt Trackin.’

        12.       Dirt Trackin’ is available for download for Apple’s iOS devices via the App Store.

It is available for download on Android devices via Google Play.

        13.      Arizona is an alleged corporate entity, which, upon information and belief, is in the

business of making corporate and sports apparel, specifically tee shirts.

        14.      On February 3, 2015, counsel Arizona sent a letter to counsel for Bennett that

claimed Bennett was diluting and infringing trademark rights apparently held by Arizona. See, Exh.

A.
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                         Defendants Acts Constituting Actual Controversy

         15.      As noted above, Arizona has accused Bennett of infringing and diluting intellectual

property rights it purportedly holds or has license too.

         16.      In the letter of February 3, 2015, Arizona claimed that Dirt Trackin’s visualization of

cars “is likely to mislead consumers.” Exh. A, p. 1. This allegation is the crux of purported

trademark infringement. See, 15 U.S.C. § 1125(a).

         17.      In that same letter, Arizona claims that the Dirt Trackin’s visualization of cars

“creates the impression that you are affiliated or sponsored by [Arizona].” Exh. A, p. 1. This

allegation is the crux of purported trademark dilution. See, 15 U.S.C. § 1125(c).

         18.      Arizona demanded sums of money for Bennett’s use of certain visualizations of

cars and demanded that Bennett cease and desist from using these visualizations of cars in his

mobile device application. Exh. A, p. 2.

         19.      Arizona explicitly claimed that its letter was making a statement regarding some,

not necessarily all, of its rights. Exh. A, p. 2.

         20.      There presently exists a justiciable controversy regarding Bennett’s game, Dirt

Trackin’, and the visualization of cars within the same, namely, whether those visualizations

infringe or dilute any trademark rights held by Arizona.

                                             Count I
                  Invalidity/Non-Existence of Any Purported Trademark Rights

         21.      Bennett incorporates ¶¶ 1 – 20 as if fully restated here.

         22.      This is a declaratory judgment action under 15 U.S.C. §1051, et seq. and 28

U.S.C. §§ 2201, 2202. A justiciable controversy exists by way of the credible threat of immediate
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litigation, the demand to cease and desist use of certain visualizations of vehicles, and demand for

sums of money, for which Bennett seeks relief from this Court.

         23.       Upon information and belief, Arizona holds no enforceable trademark rights

concerning the cars discussed in its letter.

         24.       Upon information and belief, Arizona holds no other enforceable trademark rights

that would allow it to make the demands set forth in its letter.

         25.       Bennett seeks an Order from this Court declaring that Arizona does not possess

any valid and enforceable trademark rights that relate to Dirt Trackin’.

                                               Count II
                                 Non-Infringement of Trademark Rights2

         26.       Bennett incorporates ¶¶ 1 – 20 as if fully restated here.

         27.       This is a declaratory judgment action under 15 U.S.C. §1125, et seq. and 28

U.S.C. §§ 2201, 2202. A justiciable controversy exists by way of the credible threat of immediate

litigation, the demand to cease and desist use of certain visualizations of vehicles, and demand for

sums of money, for which Bennett seeks relief from this Court

         28.       Assuming, arguendo, that Arizona holds some trademark rights to the general

visualization of cars, the visualization of cars in Dirt Trackin’ do not infringe upon those rights.

         29.       Bennett seeks an Order from this Court declaring that he has not infringed upon

the trademark rights of Arizona.

                                                 Count III
                                     Non-Dilution of Trademark Rights

         30.       Bennett incorporates ¶¶ 1 – 20 as if fully restated here.




2 In bringing this second count, Bennett in no way acknowledges or admits that Arizona has any protectable trademark
rights.
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        31.      This is a declaratory judgment action under 15 U.S.C. §1125, et seq. and 28

U.S.C. §§ 2201, 2202. A justiciable controversy exists by way of the credible threat of immediate

litigation, the demand to cease and desist use of certain visualizations of vehicles, and demand for

sums of money, for which Bennett seeks relief from this Court

        32.      Assuming, arguendo, that Arizona holds some trademark rights to the general

visualization of cars, Arizona has not obtained any rights in a mark that is famous enough to allow

a claim for dilution to be made.

        33.      Assuming, arguendo, that Arizona holds some trademark rights to the general

visualization of cars, the visualization of cars in Dirt Trackin’ do not result in any trademark dilution.

        34.      Bennett seeks an Order from this Court declaring that he has not diluted the

trademark rights of Arizona.

                                           Prayer for Relief

        WHEREFORE, Timothy Bennett seeks a judgment from this Honorable Court that awards

him the following relief:

        A.       An order declaring that Arizona lacks any enforceable, valid, trademark rights

relating to the visualization of cars in a video game such as Dirt Trackin’;

        B.       An order declaring that Bennett has not infringed upon any trademark rights held

by Arizona;

        C.       An order declaring that either Arizona holds no rights in a trademark famous

enough for dilution to occur or that Bennett has not diluted any such trademark;

        D.       An order awarding Bennett his reasonable attorneys’ fees and costs associated

with this action; and

        E.       Any other relief this Court deems just and equitable.
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                                      Respectfully submitted,

                                      /s/ John T.D. Bathke
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